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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________
 Southern             District of _________________
                                  Texas
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                           11
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Griffin Technology Incorporated
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                1 ___
                                              ___ 6 – ___
                                                       0 ___
                                                          8 ___
                                                             6 ___
                                                                4 ___
                                                                   4 ___
                                                                      1 ___
                                                                         6
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               50         Executive Parkway
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               Hudson                     OH       44236
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               Summit
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                   www.dieboldnixdorf.com
                                              ____________________________________________________________________________________________________




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Debtor        Griffin Technology Incorporated
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                              4 ___
                                                 2 ___
                                                    3 ___
                                                       4

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          
                                                          ✔   A plan is being filed with this petition.

                                                          
                                                          ✔   Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor          Griffin Technology Incorporated
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          ✔ No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             
                                          ✔ Yes.            See attached Schedule 1
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          
                                          ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.



 12.   Does the debtor own or have        
                                          ✔ No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor        Griffin Technology Incorporated
              _______________________________________________________                              Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of               Check one:
       available funds                      
                                            ✔ Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                              
                                                                                ✔ 1,000-5,000                                25,001-50,000
 14.   Estimated number of                   50-99                              5,001-10,000                               50,001-100,000
       creditors1                            100-199                            10,001-25,000                              More than 100,000
                                             200-999

                                             $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                      $50,001-$100,000                   $10,000,001-$50 million                   
                                                                                                                            ✔ $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                             $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities*                $50,001-$100,000                   $10,000,001-$50 million                   
                                                                                                                            ✔ $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                petition.
       debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                            I declare under penalty of perjury that the foregoing is true and correct.

                                                               06/01/2023
                                                Executed on _________________
                                                            MM / DD / YYYY
                                                     /s/ Jonathan B. Leiken
                                               _____________________________________________                 Jonathan B. Leiken
                                                                                                             _______________________________________________
                                                Signature of authorized representative of debtor             Printed name

                                                       President
                                                Title _________________________________________




          1          The estimated number of creditors and estimated amounts of assets and liabilities are being listed on a consolidated
                     basis for all Debtor affiliates listed on Schedule 1, attached hereto.


 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor        Griffin Technology Incorporated
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




                                                 /s/ Matthew D. Cavenaugh
 18.   Signature of attorney
                                           _____________________________________________            Date          06/01/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Matthew D. Cavenaugh
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Jackson Walker LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1401        McKinney Street Suite 1900
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Houston
                                           ____________________________________________________             TX
                                                                                                           ____________  77010
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (713) 572-4200
                                           ____________________________________                             mcavenaugh@jw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            24062656
                                           ______________________________________________________  Texas
                                                                                                  ____________
                                           Bar number                                             State




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                                          SCHEDULE 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a
petition in this court for relief under chapter 11 of title 11 of the United States Code. Each Debtor
is listed with the last four digits of its federal tax identification number. The Debtors have moved
for joint administration of these cases under the case number assigned to the chapter 11 case of
Diebold Holding Company, LLC.

                            Diebold Holding Company, LLC (3478)
                              Diebold Nixdorf, Incorporated (3970)
                        Diebold Nixdorf Technology Finance, LLC (9709)
                           Diebold Global Finance Corporation (2596)
                          Diebold SST Holding Company, LLC (3595)
                              Diebold Self-Service Systems (8298)
                             Griffin Technology Incorporated (4416)
                                       Impexa, LLC (1963)
                            Diebold Nixdorf Canada, Limited (N/A)
                          Diebold Canada Holding Company Inc. (N/A)
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


 In re:
                                                     Chapter 11
 Griffin Technology Incorporated,
                                                     Case No. 23-_______(___)
                  Debtor.
                                                      (Joint Administration Requested)


               CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                 TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3) AND 7007.1

        Pursuant to rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
Griffin Technology Incorporated, states as follows:

                                    Name and Address of Equity          Percentage of
               Debtor
                                         Interest Holder                Interests Held
                                    Diebold Nixdorf, Incorporated
          Griffin Technology
                                       50 Executive Parkway                  100%
             Incorporated
                                         Hudson, OH 44326
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 Fill in this information to identify the case and this filing:


               Griffin Technology Incorporated
 Debtor Name _________________________________________________________________

                                            Southern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                         list of equity holders and corporate ownership statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                      06/01/2023
        Executed on ______________                          /s/ Jonathan B. Leiken
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Jonathan B. Leiken
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                           Execution Version


                    GRIFFIN TECHNOLOGY INCORPORATED
                             (a New York corporation)
            Action by Unanimous Written Consent of the Board of Directors
                                   May 31, 2023

       Pursuant to Section 708(b) of the Business Corporation Law of the State of New
York, the undersigned, being all of the members of the board of directors (the “Board”) of
Griffin Technology Incorporated, a New York corporation (the “Company”), hereby
consent by this Action by Unanimous Written Consent of the Board of Directors to the
adoption of the following resolutions with the same force and effect as if they had been
unanimously adopted by a duly convened meeting of the Board:

WHEREAS, on May 30, 2023, the Company Parties (as defined below) entered into a
restructuring support agreement (the "Restructuring Support Agreement"), by and among:

                   1.   Diebold Nixdorf, Incorporated (“Parent”) and each of its direct and
                        indirect subsidiaries listed on Exhibit A-1 to the Restructuring
                        Support Agreement, including the Company (collectively, the
                        “Company Parties”);

                   2.   certain holders of claims arising under that certain prepetition
                        priority term loan facility due July 2025, provided for under that
                        certain Credit Agreement, dated as of December 29, 2022, by and
                        among Parent and Diebold Nixdorf Holding Germany GMBH, as
                        borrowers, certain of the Company Parties, as guarantors, the
                        lenders party thereto, and GLAS Americas LLC, as administrative
                        agent and collateral agent, as amended, restated, amended and
                        restated, supplemented, waived or otherwise modified from time to
                        time;

                   3.   certain holders of claims under that certain prepetition first lien term
                        loan facility due 2025, provided for under that certain Credit
                        Agreement, dated as of December 29, 2022, by and among Parent,
                        as borrower, certain of the Company Parties, as guarantors, the
                        lenders party thereto, JPMorgan Chase Bank, N.A., as
                        administrative agent, and GLAS Americas LLC, as collateral agent,
                        as amended, restated, amended and restated, supplemented, waived
                        or otherwise modified from time to time;

                   4.   certain holders of claims arising under those certain 9.375% senior
                        secured notes due 2025, issued by Parent, pursuant to the that certain
                        amended and restated senior secured notes indenture, dated as of
                        July 20, 2020, among Parent, as issuer, certain of the Company
                        Parties, as guarantors, the GLAS Americas LLC, as collateral agent,
                        and U.S. Bank Trust Company, National Association, as trustee, as
                        amended, restated, amended and restated, supplemented, waived or
                        otherwise modified from time to time;


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                   5.   certain holders of claims arising under those certain 9.00% senior
                        secured notes due 2025, issued by Diebold Nixdorf Dutch Holding
                        B.V. (“Diebold Netherlands”), pursuant to that certain amended and
                        restated senior secured notes indenture, dated as of December 29,
                        2022 among Diebold Netherlands, as issuer, Parent, as guarantor,
                        certain of the Company Parties, as guarantors, the U.S. Bank Trust
                        Company, National Association, as trustee, and GLAS Americas
                        LLC, as collateral agent, as amended, restated, amended and
                        restated, supplemented, waived or otherwise modified from time to
                        time;

                   6.   certain holders of claims arising under those certain 8.50%/12.50%
                        senior secured PIK toggle notes due 2026, issued by Parent, in an
                        original aggregate principal amount of $333,616,814, pursuant to
                        that certain senior secured PIK toggle notes indenture, dated as of
                        December 29, 2022, among Parent, as issuer, certain of the
                        Company Parties, as guarantors, the U.S. Bank Trust Company,
                        National Association, as trustee, and GLAS Americas LLC, as
                        collateral agent, as amended, restated, amended and restated,
                        supplemented, waived or otherwise modified from time to time; and

                   7.   each DIP Backstop Party (as defined in the Restructuring Support
                        Agreement) (the parties described in items 2 through 7, collectively,
                        the "Consenting Stakeholders"),

which contemplates a comprehensive restructuring of the Company Parties on the terms
set forth in the Restructuring Support Agreement (the "Restructuring Transactions");

WHEREAS, pursuant to the Restructuring Support Agreement, the Company Parties and
the Consenting Stakeholders agreed, among other things, to effectuate the Restructuring
Transactions through the commencement of voluntary reorganization cases (the "Chapter
11 Cases") under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code")
by the Company; Diebold Nixdorf Technology Finance, LLC; Diebold Global Finance
Corporation; Diebold SST Holding Company, LLC; Diebold Holding Company, LLC;
Diebold Self-Service Systems; Griffin Technology, Incorporated; Impexa, L.L.C.; Diebold
Nixdorf Canada, Limited; and Diebold Canada Holding Company Inc. (collectively, the
"Chapter 11 Debtors") and the filing of a joint plan of reorganization (the "U.S. Plan") and
disclosure statement (the "Disclosure Statement") in the course of the Chapter 11 Cases
and pursuant to the terms of chapter 11 of the Bankruptcy Code;

WHEREAS, pursuant to the Restructuring Support Agreement, the Company Parties and
the Consenting Stakeholders agreed, among other things, further to effectuate the
Restructuring Transactions through the commencement of voluntary reorganization
proceedings (the "Dutch Proceeding") pursuant to the Wet Homologatie Onderhands
Akkoord (the "WHOA") under Netherlands law by Diebold Nixdorf Dutch Holding B.V.
and Diebold Nixdorf Global Holding B.V. ("Diebold Netherlands") in the District Court of
Amsterdam (the "Dutch Court") and seek recognition of the Dutch Proceeding under

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chapter 15 of the Bankruptcy Code (the "Chapter 15 Cases" and, together with the Chapter
11 Cases and the Dutch Proceeding, the "Restructuring Proceedings") and seek
confirmation and consummation of a plan of reorganization under the WHOA (the
"WHOA Plan");

WHEREAS, the Board has had the opportunity to consult with the management and the
legal and financial advisors of the Company regarding the material terms of the U.S. Plan
and the WHOA Plan, pursuant to which the U.S. Debtors and Diebold Netherlands would,
among other things, implement a reorganization of the Company Parties' liabilities;

WHEREAS, the Board has had the opportunity to consult with the management and the
legal and financial advisors of the Company regarding the material terms of the proposed
Disclosure Statement and related solicitation procedures;

WHEREAS, that the Board authorized and approved the initiation of solicitation
proceedings with respect to the U.S. Plan and the WHOA Plan, as contemplated by the
Restructuring Support Agreement and as described in the Disclosure Statement, as each
may be amended or modified from time to time; and

WHEREAS, the Board has (a) regularly and carefully reviewed the materials and other
information presented by the Company's management and advisors regarding the
Company's business conditions, the Company's operations, its current and projected
financial position and other relevant information; (b) thoroughly evaluated the Company's
strategic alternatives, including a possible restructuring; (c) conferred extensively with the
Company's management and advisors regarding these matters; (d) determined that the
filing of a voluntary petitions under chapter 11 of the Bankruptcy Code by the Company
and the Chapter 11 Debtors is in the best interests of the Company, its subsidiaries and
affiliates and its stakeholders; and (e) determined that consummation of the Financing
Transactions (defined below) is necessary and appropriate to ensure implementation of the
U.S. Plan and the WHOA Plan.

NOW, THEREFORE, BE IT:

RESOLVED, that in the judgment of the Board it is desirable and in the best interests of
the Company, the other U.S. Guarantors and their stakeholders that the Company seek
relief under chapter 11 of the Bankruptcy Code or in any other appropriate forum for an
order recognizing the U.S. Plan or otherwise implementing the U.S. Plan as circumstances
require;

FURTHER RESOLVED, that the Company, shall be, and it hereby is, authorized to file
a voluntary petition (the "Petition") to initiate a Chapter 11 Case, in the United States
Bankruptcy Court for the Southern District of Texas or such other court (the "Bankruptcy
Court") as each "Authorized Person" (as defined below) of the Company shall determine
to be appropriate and perform any and all such acts as are reasonable, advisable, expedient,
convenient, proper or necessary to effect the foregoing, the performance of such acts to
constitute conclusive evidence of the reasonableness, advisability, expedience,
convenience, appropriateness or necessity thereof;

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FURTHER RESOLVED, that each Authorized Person shall be, and each of them hereby
is, authorized, directed and empowered, in the name and on behalf of the Company, to:
(a) execute, acknowledge, deliver and verify the Petition and all other ancillary documents,
and cause the Petition to be filed with the Bankruptcy Court and make or cause to be made
prior to execution thereof any modifications to the Petition or ancillary documents as any
such Authorized Person, in such person's discretion, deems necessary, desirable or
appropriate to carry out the intent and accomplish the purposes of these resolutions;
(b) execute, acknowledge, deliver, verify and file or cause to be filed all petitions,
schedules, statements, lists, motions, applications and other papers or documents necessary
or desirable in connection with the foregoing; (c) execute, acknowledge, deliver and verify
any and all other documents necessary, desirable or appropriate in connection therewith
and to administer the Company's Chapter 11 Case in such form or forms as any such
Authorized Person may approve; and the actions of any Authorized Person taken pursuant
to this resolution, including the execution, acknowledgment, delivery and verification of
the Petition and all ancillary documents and all other agreements, certificates, instruments,
guaranties, notices and other documents, shall be conclusive evidence of such Authorized
Person's approval and the necessity, desirability or appropriateness thereof; and (d) to take
any action as may be deemed necessary, desirable or appropriate to carry out the intent of
this resolution, including the filing of the Petition and any ancillary documents;

FURTHER RESOLVED, that the Board authorizes, confirms, approves and ratifies the
form, terms and provisions of, and each of the Restructuring Transactions contemplated by
the Restructuring Support Agreement, the U.S. Plan, the WHOA Plan and the Disclosure
Statement, as each may be amended or modified from time to time, and the filing thereof
with the Bankruptcy Court, as applicable;

FURTHER RESOLVED, that the Authorized Persons shall be, and each of them
individually hereby is, authorized, directed and empowered, in the name and on behalf of
the Company, to retain: (a) Jones Day; (b) Ducera Partners LLC; (c) Jackson Walker LLP;
(d) FTI Consulting, Inc.; (e) Kroll Restructuring Administration, LLC; and (f) such
additional professionals, including attorneys, accountants, financial advisors, investment
bankers, actuaries, consultants, experts, agents or brokers (together with the foregoing
identified firms, the "Professionals"), in each case as in any such Authorized Person's
judgment may be necessary, desirable or appropriate in connection with the Company's
Restructuring Proceedings and other related matters, on such terms as such Authorized
Person or Authorized Persons shall approve and such Authorized Person's retention thereof
to constitute conclusive evidence of such Authorized Person's approval and the necessity,
desirability or appropriateness thereof;

FURTHER RESOLVED, that the law firms of Jones Day and Jackson Walker LLP and
any additional special or local counsel selected by the Authorized Persons, if any, shall be,
and hereby are, authorized, empowered and directed to represent the Company, as debtor
and debtor in possession, in connection with any Restructuring Proceedings commenced
by or against it under the Bankruptcy Code or in any other appropriate forum;

FURTHER RESOLVED, that the Company, as debtor and debtor in possession, shall be,
and it hereby is, authorized to: (a) enter into and incur any obligations under one or more

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debtor in possession financing facility or facilities (collectively, the "DIP Facilities"),
which may provide for, among other things, subject to the satisfaction of certain conditions,
the automatic conversion of all or a portion of the outstanding loans under such DIP
Facilities into new loans issued, deemed issued and/or refinanced under exit facilities
(collectively, the "Exit Facilities") and such other terms as may be approved by any one or
more of the Authorized Persons, and to consummate the transactions contemplated thereby,
including, without limitation, the use of cash collateral and the repayment and/or
refinancing of certain indebtedness of the Company or its subsidiaries with the proceeds
thereof (collectively, the "Financing Transactions"), as may be necessary, desirable or
appropriate for the continuing conduct of the affairs of the Company; (b) enter into any
amendment, amendment and restatement, supplement, replacement, refinancing or other
modification to any of the Company's existing credit agreements, loan agreements,
indentures or other agreements governing indebtedness or other obligations and liabilities
of the Company and its subsidiaries, including, without limitation, any lien or guarantee
release or other termination agreements, documents and instruments, in each case, as may
be deemed necessary, desirable or appropriate by any one or more of the Authorized
Persons in connection with the Financing Transactions; and (c) pay any and all related fees
and expenses, incur (or guarantee, as applicable) the debt and other obligations and
liabilities contemplated by the Financing Transactions and to grant security interests in and
liens upon some, all or substantially all of the Company's assets in each case as may be
deemed necessary, desirable or appropriate by any one or more of the Authorized Persons
in connection with the Financing Transactions;

FURTHER RESOLVED, that: (a) the Authorized Persons shall be, and each of them
individually, hereby is, authorized, directed and empowered, in the name and on behalf of
the Company, as debtor and debtor in possession, to take such actions and execute,
acknowledge, deliver and verify such certificates, instruments, guaranties, credit
agreements, pledge agreements, security agreements, promissory notes, letter of credit
applications, mortgages, intellectual property security agreements, account control
agreements, intercreditors, other collateral documents or security instruments, instruments,
notices and any and all other agreements or documents arising in connection with the
Financing Transactions as any one or more of the Authorized Persons may deem necessary,
desirable or appropriate to facilitate the Financing Transactions (including, for the
avoidance of doubt, to facilitate, initiate or otherwise consummate the transactions
contemplated by the Exit Facilities), in each case including any amendments, amendment
and restatements, supplements, replacements, refinancings or other modifications to the
foregoing (collectively, the "Financing Documents"); (b) the Financing Documents,
containing such provisions, terms, conditions, covenants, warranties and representations as
may be deemed necessary, desirable or appropriate by any one or more of the Authorized
Persons, are hereby adopted, ratified, confirmed and approved in all respects; and (c) the
actions of any Authorized Person taken pursuant to these resolutions, including the
execution, acknowledgement, delivery and verification of all such Financing Documents,
shall be conclusive evidence of such Authorized Person's approval and the necessity,
desirability or appropriateness thereof

FURTHER RESOLVED, that, in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, each Authorized Person be, and hereby is,
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authorized with full power of delegation, in the name and on behalf of the Company, to
take or cause to be taken any and all such further actions and to execute and deliver or
cause to be executed or delivered, and to amend, supplement or otherwise modify from
time to time, any and all such agreements, documents certificates, instruments, statements,
notices, undertakings, amendments and other writings, and to incur and to pay or direct
payment of all such fees and expenses, including filing fees, as in the judgment of the
Authorized Person shall be necessary, desirable or appropriate to effectuate the purpose
and intent of any and all of the foregoing resolutions adopted herein;

FURTHER RESOLVED, that the signature of any director or Authorized Person may,
but need not, be a facsimile or electronic signature imprinted or otherwise reproduced on
the documents, and for that purpose the Company hereby adopts as binding upon it the
facsimile signature of any present or future director or Authorized Person, notwithstanding
the fact that at the time the documents shall be executed, authenticated or delivered or
disposed of such person shall have ceased to be a director or Authorized Person of the
Company and that, in case any director or Authorized Person of the Company whose
facsimile signature shall appear on the documents shall cease to hold such office before the
documents have been executed, authenticated and delivered or disposed of by the Company,
such documents nevertheless may be executed, authenticated and delivered or disposed of
and such documents shall be valid as though such person had not ceased to hold such
position with the Company; and that any such documents as shall have been so executed
authenticated, delivered or disposed of are hereby adopted by the Company as its binding
obligations;

FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person, or at the direction of an Authorized Person, or by any of the
Professionals at the direction of an Authorized Person, in connection with the Restructuring
Proceedings or any proceedings related thereto, or any matter related thereto, be, and
hereby are, adopted, ratified, confirmed and approved in all respects as the acts and deeds
of the Company;

FURTHER RESOLVED, that any and all lawful actions and transactions by any
Authorized Person, or at the direction of an Authorized Person, for and on behalf and in
the name of the Company with respect to any transactions contemplated by the foregoing
resolutions, including in connection with the Financing Transactions, before the adoption
of the foregoing resolutions be, and they hereby are, ratified, authorized, approved, adopted
and consented to in all respects for all purposes; and

FURTHER RESOLVED that for the purposes of these resolutions, the term “Authorized
Person” shall mean and include any director, manager or officer, or any designee of any of
them, of the Company, as well as any person with relevant powers granted by the Company,
and Mr. Carlin Adrianopoli.




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IN WITNESS WHEREOF, the undersigned has caused this written consent to be executed
as of this 31st day of May, 2023.

                                        By:______________________________
                                           Name: Jonathan Leiken
                                           Director


                                        By:______________________________
                                           Name: Elizabeth Radigan
                                           Director




    [Signature Page to Board Consent of Griffin Technology Incorporated – Filing]
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IN WITNESS WHEREOF, the undersigned has caused this written consent to be executed
as of this 31st day of May, 2023.

                                        By:______________________________
                                           Name: Jonathan Leiken
                                           Director


                                        By:______________________________
                                           Name: Elizabeth Radigan
                                           Director




    [Signature Page to Board Consent of Griffin Technology Incorporated – Filing]
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


 In re:
                                                           Chapter 11
 Griffin Technology Incorporated,
                                                           Case No. 23-_______(___)
                  Debtor.
                                                           (Joint Administration Requested)


                       CONSOLIDATED LIST OF CREDITORS
                   HOLDING THE 30 LARGEST UNSECURED CLAIMS

        Diebold Nixdorf, Incorporated and certain of its direct and indirect subsidiaries, as debtors
and debtors in possession (collectively, the "U.S. Debtors"), in the above captioned cases each
filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the
"Bankruptcy Code"). Contemporaneously with the filing of their petitions, the U.S. Debtors are
hereby filing a consolidated list of the 30 largest unsecured creditors of the U.S. Debtors (the
"Creditors List") in lieu of a separate list for each U.S. Debtor, consistent with Rule F.14 of the
Procedures for Complex Cases in the Southern District of Texas.

         The Creditors List is based on the U.S. Debtors' unaudited books and records as of the
petition date and was prepared in accordance with Federal Rule of Bankruptcy Procedure 1007(d)
for filing in the chapter 11 case. The Creditor List does not include: (1) persons who come within
the definition of "insider" set forth in section 101(31) of the Bankruptcy Code; or (2) secured
creditors, unless the value of a secured creditor's collateral is such that the unsecured deficiency
places the creditor among the holders of the 30 largest unsecured claims. The information
contained herein constitutes neither an admission by the U.S. Debtors, nor does it constitute a
waiver of the U.S. Debtors' right to contest the validity, priority or amount of any claim at a later
date.
                               Case 23-90612 Document 1 Filed in TXSB on 06/01/23 Page 18 of 20


Fill in this information to identify the case:
    Debtor name: Diebold Holding Company, LLC, et al .                                                                                                       □ Check if this is an amended filing
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (if known): ____TBD______



Official Form 204

Chapter 11 or Chapter 9: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                              12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 50 largest unsecured claims.


Name of creditor and complete mailing            Name, telephone number, and email             Nature of the claim          Indicate if     Amount of unsecured claim
address, including zip code                      address of creditor contact                   (for example, trade debts,   claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                               bank loans, professional     contingent,     amount. If claim is partially secured, fill in total claim
                                                                                               services, and government     unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                               contracts)                   or disputed     calculate unsecured claim.

                                                                                                                                                                  Deduction for value
                                                                                                                                              Total claim, if
                                                                                                                                                                    of collateral or  Unsecured Claim
                                                                                                                                             partially secured
                                                                                                                                                                         setoff
                                               U.S. Bank Global Corporate Trust (8.5% Senior
      U.S. Bank Global Corporate Trust (8.5%
                                               Notes Due 2024 Trustee)
      Senior Notes Due 2024 Trustee)
                                               Attn: David A. Schlabach, Vice
      Attn: David A. Schlabach, Vice
1                                              President/Relationship Manager                  Unsecured Debt                                                                                $72,895,216.44
      President/Relationship Manager
                                               Phone: 216.623.5987
      1350 Euclid Avenue, Suite 1100
                                               Fax: 216.623.9259
      Cleveland, OH 44115
                                               E‐mail: david.schlabach@usbank.com
      Accenture International Limited
      Attn: Sharma Sukanya
                                               Accenture International Limited
      1 Grand Canal Square
2                                              Attn: Sharma Sukanya                            Trade Claim                                                                                   $31,455,988.98
      Grand Canal Harbour
                                               E‐mail: sukanya.sharma@accenture.com
      Dublin 2 D02 P820
      Ireland

      Ernst & Young LLP                        Ernst & Young LLP
      Attn: Walters Gina, Associate Director   Attn: Walters Gina, Associate Director
3                                                                                              Trade Claim                                                                                   $23,312,012.59
      200 Plaza Drive                          Phone: 313‐628‐8402
      Secaucus, NJ 07094                       E‐mail: gina.walters@ey.com

      The Act 1 Group Inc.
                                               The Act 1 Group Inc.
      Attn: Leon Andrea
                                               Attn: Leon Andrea
4     50 Paxman Road                                                                           Trade Claim                                                                                     $3,604,079.29
                                               Phone: 310‐750‐3400
      Etobicoke, ON M9C 1B7
                                               E‐mail: aleon@agile1.com
      Canada

      Element Fleet Corporation                Element Fleet Corporation
      Attn: Bettis Rick                        Attn: Bettis Rick
5                                                                                              Trade Claim                                                                                     $3,281,212.31
      940 Ridgebrook Road                      Phone: 410‐771‐2302
      Sparks, MD 21152                         E‐mail: rbettis@elementcorp.com


      Nidec Instruments America Corporation    Nidec Instruments America Corporation
      Attn: Wicker Krista                      Attn: Wicker Krista
6                                                                                              Trade Claim                                                                                     $2,919,537.61
      275 Northridge Dr                        Phone: 317‐421‐2220
      Shelbyville, IN 46176                    E‐mail: kwicker@us.nidec‐sankyo.com


      Arcatech Systems                         Arcatech Systems
      Attn: Brian Boffo                        Attn: Brian Boffo
7                                                                                              Trade Claim                                                                                     $2,898,684.56
      12215 Waters Park Rd                     Phone: 919‐442‐2532
      Austin, TX 78759                         E‐mail: brianb@arcatechsystems.com


      RXO Managed Transport LLC                RXO Managed Transport LLC
      Attn: Chelcie Baldwin                    Attn: Chelcie Baldwin
8                                                                                              Trade Claim                                                                                     $2,225,623.44
      11215 North Community House Road         Phone: 980‐495‐8409
      Charlotte, NC 28277                      E‐mail: chelcie.baldwin@rxo.com


      Alexander Mann Solutions Corporation     Alexander Mann Solutions Corporation
      Attn: Chris Allen                        Attn: Chris Allen
9                                                                                              Trade Claim                                                                                     $2,081,046.76
      1301 E 9th Street                        Phone: 561‐212‐5851
      Cleveland, OH 44114                      E‐mail: chris.allen@alexmann.com


      Dormakaba USA Inc.                       Dormakaba USA Inc.
      Attn: Rachel Mango                       Attn: Rachel Mango
10                                                                                             Trade Claim                                                                                     $2,056,746.47
      6161 E 75th Street                       Phone: 859‐977‐3538
      Indianapolis, IN 46250                   E‐mail: rachel.mango@dormakaba.com
                                 Case 23-90612 Document 1 Filed in TXSB on 06/01/23 Page 19 of 20
Debtor: Diebold Holding Company, LLC, et al .                                                                                                                           Case number (if known) ___TBD_______

 Name of creditor and complete mailing             Name, telephone number, and email                 Nature of the claim          Indicate if     Amount of unsecured claim
 address, including zip code                       address of creditor contact                       (for example, trade debts,   claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                                     bank loans, professional     contingent,     amount. If claim is partially secured, fill in total claim
                                                                                                     services, and government     unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                                     contracts)                   or disputed     calculate unsecured claim.

                                                                                                                                                                        Deduction for value
                                                                                                                                                    Total claim, if
                                                                                                                                                                          of collateral or  Unsecured Claim
                                                                                                                                                   partially secured
                                                                                                                                                                               setoff

      Oracle America Inc.                          Oracle America Inc.
      Attn: Steve Paynter                          Attn: Steve Paynter
 11                                                                                                  Trade Claim                                                                                     $2,045,707.09
      500 Oracle Parkway                           Phone: 866‐491‐2250
      Redwood City, CA 94065                       E‐mail: cash‐appsin_ww@oracle.com


      Hilscher Clarke Electric                     Hilscher Clarke Electric
      Attn: Mike Davis                             Attn: Mike Davis
 12                                                                                                  Trade Claim                                                                                     $1,851,632.99
      519 4th St NW                                Phone: 330‐323‐4856
      Canton, OH 44703                             E‐mail: mdavis@hilscher‐clarke.com


      Microsoft Corporation                        Microsoft Corporation
      Attn: Dannette Roberts                       Attn: Dannette Roberts
 13                                                                                                  Trade Claim                                                                                     $1,841,528.50
      One Microsoft Way                            Phone: 510‐427‐0137
      Redmond, WA 98052                            E‐mail: dannettr@microsoft.com


      KPMG LLP                                     KPMG LLP
      Attn: Shirley Haidle                         Attn: Shirley Haidle
 14                                                                                                  Trade Claim                                                                                     $1,627,010.00
      3 Chestnut Ridge Road                        Phone: 801‐237‐1464
      Montvale, NJ 07645‐0435                      E‐mail: shaidle@kpmg.com

      PC Partner Ltd.
                                                   PC Partner Ltd.
      Attn: Sam Ng
                                                   Attn: Sam Ng
 15   No. 1 Queen's Road Central                                                                     Trade Claim                                                                                     $1,588,359.80
                                                   Phone: 26876858
      Hong Kong
                                                   E‐mail: samng@pcpartner.com
      China

      Cennox Inc.                                  Cennox Inc.
      Attn: Amy Mill                               Attn: Amy Mill
 16                                                                                                  Trade Claim                                                                                     $1,571,247.41
      3010 Santa Fe Court                          Phone: 406‐251‐5041
      Missoula, MT 59808                           E‐mail: amy.mill@cennox.com


      PricewaterhouseCoopers LLP                   PricewaterhouseCoopers LLP
      Attn: Cheryl Hall                            Attn: Cheryl Hall
 17                                                                                                  Trade Claim                                                                                     $1,335,000.00
      One North Wacker                             Phone: 216‐875‐3553
      Chicago, IL 60606                            E‐mail: cheryl.a.hall@us.pwc.com


      HQI LLC                                      HQI LLC
      Attn: Vincent Sivori                         Attn: Vincent Sivori
 18                                                                                                  Trade Claim                                                                                     $1,270,838.93
      920 Bloomfield Rd                            Phone: 502 502‐643‐5703
      Springfield, KY 40069                        E‐mail: vincent.sivori@yahoo.com

      PRIMAT d.d.
                                                   PRIMAT d.d.
      Attn: Irena Ocvirk
                                                   Attn: Irena Ocvirk
 19   Industrijska ulica 22                                                                          Trade Claim                                                                                     $1,113,783.92
                                                   Phone: +386 2 250 76 92
      Maribor 2000
                                                   E‐mail: irena.ocvirk@primat.si
      Slovenia
      Inspur Financial Information Technology Co
      Ltd.                                         Inspur Financial Information Technology Co Ltd.
      Attn: Bright Xia                             Attn: Bright Xia
 20                                                                                                  Trade Claim                                                                                     $1,109,322.46
      No. 818 Wusong Road                          Phone: 86 21 6081 9439
      Su Zhou 215124                               E‐mail: xiajianguo@inspur.com
      China

      Trinamix Inc.                                Trinamix Inc.
      Attn: Prantik Chakraborty                    Attn: Prantik Chakraborty
 21                                                                                                  Trade Claim                                                                                     $1,084,380.63
      123 E San Carlos St, Unit 15                 Phone: 925‐548‐7817
      San Jose, CA 95112                           E‐mail: prantik.chakraborty@trinamix.com


      National Services LLC                        National Services LLC
      Attn: Walt Bearden                           Attn: Walt Bearden
 22                                                                                                  Trade Claim                                                                                     $1,042,839.92
      315 Trane Drive                              Phone: 865‐405‐2336
      Knoxville, TN 37919                          E‐mail: waltb@nsa.bz


      Defy Security LLC                            Defy Security LLC
      Attn: Rocky Bowermaster                      Attn: Rocky Bowermaster
 23                                                                                                  Trade Claim                                                                                      $961,543.46
      375 Southpointe Blvd Ste 210                 Phone: 937‐418‐3102
      Canonsburg, PA 15317‐8587                    E‐mail: rocky@defysecurity.com


      Partners In Tech Services Inc.               Partners In Tech Services Inc.
      Attn: Ashley Gropack                         Attn: Ashley Gropack
 24                                                                                                  Trade Claim                                                                                      $957,684.70
      990 Corporate Drive Suite 610                Phone: 732‐580‐3390
      Westbury, NY 11590                           E‐mail: ashley@partnerstechs.com




Official Form 204                                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                            Page 2
                                Case 23-90612 Document 1 Filed in TXSB on 06/01/23 Page 20 of 20
Debtor: Diebold Holding Company, LLC, et al .                                                                                                                   Case number (if known) ___TBD_______

 Name of creditor and complete mailing           Name, telephone number, and email           Nature of the claim          Indicate if     Amount of unsecured claim
 address, including zip code                     address of creditor contact                 (for example, trade debts,   claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                             bank loans, professional     contingent,     amount. If claim is partially secured, fill in total claim
                                                                                             services, and government     unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                             contracts)                   or disputed     calculate unsecured claim.

                                                                                                                                                                Deduction for value
                                                                                                                                            Total claim, if
                                                                                                                                                                  of collateral or  Unsecured Claim
                                                                                                                                           partially secured
                                                                                                                                                                       setoff
      Acbel Polytech Inc.
                                                 Acbel Polytech Inc.
      Attn: Jessica Li
                                                 Attn: Jessica Li
 25   No.159, Sec. 3, Danjin Rd.                                                             Trade Claim                                                                                      $947,089.28
                                                 Phone: 011‐886‐2‐2623‐6530
      Tamsui Dist., New Taipei City 251
                                                 E‐mail: jessica_li@apitech.com.tw
      Taiwan

      Yongzhou Yalide Technology Co Ltd
      Attn: Jack Zhao                            Yongzhou Yalide Technology Co Ltd
      No. 121 Lane One The Third Industry Area   Attn: Jack Zhao
 26                                                                                          Trade Claim                                                                                      $909,967.10
      Matigang Dalingshan                        Phone: 15831031770
      Dongguan, Guangdong 523810                 E‐mail: cjcrubber@cjcmotor.com
      China

      Shell Oil Products US                      Shell Oil Products US
      Attn: Brian Edmonds                        Attn: Brian Edmonds
 27                                                                                          Trade Claim                                                                                      $905,530.02
      3333 Highway 6 South                       Phone: 713‐241‐8276
      Houston, TX 77082                          E‐mail: brian.edmonds@shell.com


      St. Moritz Security Services Inc.          St. Moritz Security Services Inc.
      Attn: Brian Fiscus                         Attn: Brian Fiscus
 28                                                                                          Trade Claim                                                                                      $883,973.74
      4600 Clairton Blvd                         Phone: 412‐885‐3144
      Pittsburgh, PA 15236                       E‐mail: bfiscus@smssi.com

      Tri Star Inc.
      Attn: Lisa Zhou                            Tri Star Inc.
      No. 1888 Jintong Avenue, Tongzhou          Attn: Lisa Zhou
 29                                                                                          Trade Claim                                                                                      $867,266.68
      Development Area                           Phone: +86 513 86557000
      Tongzhou, Jiangsu 226300                   E‐mail: lisazhou@tristarinc.com
      China

      Clinton Electronics Corporation            Clinton Electronics Corporation
      Attn: Judy Laird                           Attn: Judy Laird
 30                                                                                          Trade Claim                                                                                      $813,305.28
      6701 Clinton Road                          Phone: 815‐921‐8062
      Loves Park, IL 61111                       E‐mail: jlaird@clintonelectronics.com




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